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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
CHRISTOPHER SANCHEZ,                                           :

                                                              :
                          Plaintiff,                               ORDER
                                                              :
                 -against-
                                                              :    20 Civ. 6559 (KPF) (GWG)
COMMISSIONER OF SOCIAL SECURITY,
                                                               :
                           Defendant.
---------------------------------------------------------------x
GABRIEL W. GORENSTEIN, United States Magistrate Judge

       The complaint in this case is not signed by the plaintiff. The complaint is thus not proper
under Rule 11(a) of the Federal Rules of Civil Procedure. The plaintiff is directed to file on or
before November 16, 2020, a complaint signed by the plaintiff, Christopher Sanchez
personally. Mr. Sanchez is warned that if he fails to file a signed complaint, this case will be
dismissed.

         Additionally, the Consent to Electronic Service (dated June 24, 2020) (Docket # 4) was
requested by someone who is not the plaintiff. Thus, the consent to electronic service (Docket
# 4) is vacated. Plaintiff is free to submit a proper consent form signed by him.

      For any filings, plaintiff may email the filing by sending it in pdf form to
Temporary_Pro_Se_Filing@nysd.uscourts.gov

       In the alternative, he may mail the document to Pro Se Docketing, 500 Pearl Street, New
York, NY 10007.

       The Clerk is directed to mail a copy of this Order to the plaintiff at the address on the
docket sheet.

        SO ORDERED.

Dated: New York, New York
       October 20, 2020
